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                                                      U.S. Department of Justice

                                                      United States Attorney
                                                      Southern District of New York


                                                      The Silvio J. Mollo Building
                                                      One Saint Andrew’s Plaza
                                                      New York, New York 10007


                                                      October 6, 2021

BY ECF

The Honorable Laura Taylor Swain
United States District Court                             MEMO ENDORSED
Southern District of New York
500 Pearl Street
New York, New York 10007

       Re:     United States v. Mircea Constantinescu, Nikolaos Limberatos, Cristian Costea,
               Alin Hanes Calugaru, Ionela Constantinescu, Peter Samolis, and Iuliana
               Mihailescu, 19 Cr. 651 (LTS)
               United States v. Florian Claudiu Martin, S1 19 Cr. 651 (LTS)
               United States v. Alexandru Radulescu, S4 19 Cr. 651 (LTS)

Dear Chief Judge Swain:

        The Government respectfully submits this letter to request that the Court set a trial date in
this case.

        The Government has conferred with counsel for defendants Mircea Constantinescu,
Nikolaos Limberatos, Cristian Costea, Alin Hanes Calugaru, Ionela Constantinescu, Peter
Samolis, Iuliana Mihailescu, Florian Claudiu Martin, and Alexandru Radulescu. In light of
defense counsel’s schedules, the Government requests, without objection from the aforementioned
defendants, that a trial for those defendants be scheduled to begin on June 20, 2022, if convenient
to the Court. Although discussions with certain of these defendants regarding potential pretrial
dispositions are ongoing, the Government wants to assure that any of the foregoing defendants
who remain in the case by June 2022 are able to proceed to trial at that time (subject to any
limitations that the Court may have regarding the number of defendants who may be tried
together).

       In addition to the aforementioned defendants, the two other defendants whose cases remain
unresolved are David Georgescu and Daniel Silvu Camaras. The Government and counsel for
Mr. Georgescu are in the process of finalizing a pretrial disposition. Mr. Camaras only recently
was arrested in connection with this case. Accordingly, the Government does not request that the
above-requested trial date apply to either of those two defendants.
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October 6, 2021
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                                                                Respectfully submitted,

                                                                AUDREY STRAUSS
                                                                United States Attorney for the
                                                                Southern District of New York

                                                          By:
                                                                Elizabeth A. Hanft
                                                                Samuel P. Rothschild
                                                                Robert B. Sobelman
                                                                Assistant United States Attorneys
                                                                (212) 637-2334/2504/2616

cc:     All Counsel of Record (by ECF)
The Court hereby sets a target trial date of June 20, 2022 at 9:30 AM, for remaining defendants enumerated in the second
paragraph of the foregoing letter. Under the Court's current trial protocols, no trial date will be able to be assigned or confirmed
before the first quarter of 2022. The parties are also hereby notified that the cases of any defendants who will go to trial will be
transferred to another judge of the Court, in light of the undersigned's ongoing obligations in connection with the PROMESA
financial restructuring proceedings for Puerto Rico. The Court finds pursuant to 18 U.S.C. §3161(h)(7)(A) that the ends of
justice served by an exclusion of the time from today’s date through June 20, 2022, outweigh the best interests of the public and
the defendants in a speedy trial because of the need for time for further discussions, possible motion practice and trial
preparation.

The Government and the remaining defendants are directed to file a joint status report by February 1, 2022, regarding whether
and to what extent a trial is expected to be necessary, and how many days should be set aside for such trial.

SO ORDERED.
10/7/2021
/s/ Laura Taylor Swain, Chief USDJ
